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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


                                                       Civil Action No. 11-cv-7318 (CCC)(CLW)
   JUICE ENTERTAINMENT, LLC, THOMAS
   DORFMAN, AND CHRIS BARRETT,
                      Plaintiffs,                       CERTIFICATION OF IAN S. MARX IN
                                                          SUPPORT OF DEFENDANT LIVE
                            vs.                          NATION ENTERTAINMENT, INC.’S
                                                         MOTION TO STRIKE PLAINTIFFS’
   LIVE NATION ENTERTAINMENT, INC.,                             EXPERT REPORT

                                         Defendant.



          I, Ian S. Marx, declare that I am a Shareholder of Greenberg Traurig, LLP, attorneys for

  Defendant Live Nation Entertainment, Inc. I make this certification on the basis of personal

  knowledge and my review of the documents discussed below and in support of Defendant’s motion

  to strike Plaintiffs’ expert report.

          1.      A true and correct copy of a letter dated June 6, 2019 from Andrew Smith, is

  attached hereto as Exhibit A.

          2.      A true and correct copy of Dr. Richard D. Barnet’s undated expert report, is

  attached hereto as Exhibit B.

          3.      A true and correct copy of a letter dated June 11, 2019 from Ian S. Marx, is attached

  hereto as Exhibit C.


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          4.      A true and correct copy of a letter dated June 12, 2019 from Andrew Smith, is

  attached hereto as Exhibit D.

          I declare under penalty of perjury under the laws of the United States that the foregoing is

  true and correct, and this Certification was executed on this 23rd day of August, 2019 in Florham

  Park, New Jersey.


                                                               /s/ Ian S. Marx
                                                               Ian S. Marx
  Dated: August 23, 2019




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